                Case 21-12092-amc                     Doc 16         Filed 08/11/21 Entered 08/11/21 15:08:36       Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                 IN RE: Dazhi Qiu dba Q&J Trading LLC dba                                   CHAPTER 13
                 Q&J Trading Logistics LLC
                                            Debtor(s)                                       BKY. NO. 21-12092 AMC


                                        ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of M&T BANK and index same on the master
                    mailing list.


                                                                                        Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Rebecca Solarz
                                                                                 11 Aug 2021, 14:43:57, EDT



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